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 7
 8
                                 UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                       WESTERN DIVISION
11
12
       UNITED STATES OF AMERICA,                       Case No. CR 18-549-FMO
13
                    Plaintiff,
14                                                     JOHN EDWARD ZERETZKE’S
             v.                                        AMENDED POSITION
15                                                     REGARDING SENTENCING;
       JOHN EDWARD ZERETZKE,                           SENTENCING LETTERS
16
                    Defendant.                         Hearing Date: August 19, 2021
17
                                                       Hearing Time: 11:00 a.m.
18
19           Defendant John Edward Zeretzke, by and through his counsel, Deputy Federal
20     Public Defender Julia Deixler, hereby submits his Amended Position Regarding
21     Sentencing, as well as additional letters in support of his sentencing position.
22
23                                             Respectfully submitted,
24                                             CUAUHTEMOC ORTEGA
                                               Federal Public Defender
25
26
       DATED: August 8, 2021               By /s/ Julia Deixler
27                                           JULIA DEIXLER
28                                           Deputy Federal Public Defender
                                             Attorney for John Edward Zeretzke
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 1                       AMENDED POSITION REGARDING SENTENCING
 2           On February 5, 2020, the parties filed a binding plea agreement pursuant to
 3     Federal Rule of Criminal Procedure 11(c)(1)(C). Dkt. 48 (hereinafter “the original plea
 4     agreement”). In the original plea agreement, the parties agreed that the appropriate
 5     sentence in this matter was 216 months, followed by a term of at least five years of
 6     supervised release. See id. ¶ 19. The parties also agreed that the sentence imposed in
 7     this case should run fully concurrently with the 18-year sentence imposed in People v.
 8     Zeretzke, Case Number 19ZF0002, in the Superior Court of the State of California,
 9     County of Orange. Id.
10           On August 13, 2020, Mr. Zeretzke entered a plea of guilty, pursuant to the
11     original plea agreement. After that hearing, and upon additional research regarding the
12     imposition of time credits for concurrent state and federal custody, defense counsel
13     learned that the Bureau of Prisons would not credit towards his federal sentence the
14     time that Mr. Zeretzke has already served in state custody. Mr. Zeretzke is currently in
15     primary state custody and is only temporarily in federal custody pursuant to a writ of
16     habeas corpus. It is the parties’ understanding that, pursuant to 18 U.S.C. § 3585, Mr.
17     Zeretzke will not begin to accrue credit for federal time served until the date of his
18     federal sentencing, which is currently scheduled for August 19, 2021.
19           Based on the foregoing, the parties determined that their intention when signing
20     the original plea agreement that Mr. Zeretzke’s state and federal sentences would run
21     fully concurrently could not be accomplished by the terms of that agreement.
22     Therefore, on January 8, 2021, the parties filed an amendment to the original
23     agreement, which sought to remedy the error in the original plea agreement and to
24     comply with the parties’ intention that Mr. Zeretzke be sentenced to no more than 18
25     years of total imprisonment, to be served fully concurrently in both cases. See Dkt. 69,
26     70. Concurrent with the amended plea agreement, the parties filed a stipulation
27     explaining the basis for the amendment. In that stipulation, the parties also agreed that
28     Mr. Zeretzke should enter his agreement to the amendment on the record before
                                                     1
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 1     sentencing, and that at that time, the Court should place defendant under oath and
 2     engage in the standard plea colloquy required by Federal Rule of Criminal Procedure
 3     11 regarding the amendment. See Dkt. 70 ¶ 9.
 4           The amendment calculated a new sentence of 189 months, which took into
 5     account credit for the time Mr. Zeretzke had served up to that point. See Dkt. 69. That
 6     calculation was based upon a presumption that Mr. Zeretzke would be sentenced on
 7     March 4, 2021. Id. However, the parties agreed in the amended plea agreement that,
 8     should sentencing not proceed on March 4, 202[1], the Court should subtract “the
 9     additional time beyond March 4, 202[1] that Defendant remains in custody pending
10     sentencing, accounting for ‘good time’ credit.” Id.1
11           Mr. Zeretzke has remained in continuous state custody since April 10, 2019.
12     Dkt. 79 (Amended PSR) at 1. By the time of sentencing on August 19, 2021, he will
13     have served 862 days of actual time (28 months, 9 days), which is equivalent to 1,014
14     days (33 months, 11 days) with “good time” credit. The defense therefore requests a
15     sentence of 183 months, which is equivalent to the original agreement to 216 months,
16     less time served with good time credit.
17            Based on the foregoing, and for the reasons stated in his Sentencing Position
18     filed on February 22, 2021 (Dkt. 72), Mr. Zeretzke respectfully requests that the Court
19     impose a sentence of 183 months, followed by five years of supervised release, for the
20     reasons stated herein and in his Sentencing Position filed on. See Dkt. 72.
21                                            Respectfully submitted,
22                                            CUAUHTEMOC ORTEGA
                                              Federal Public Defender
23
24
       DATED: August 8, 2021              By /s/ Julia Deixler
25                                          JULIA DEIXLER
26                                          Deputy Federal Public Defender
                                            Attorney for John Edward Zeretzke
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28           1
               The plea agreement contains a typo stating “March 4, 2020” instead of “March
       4, 2021.”
                                                   2
